         Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                     :
 JOHN DOE,                                           :
                                                     :
                   Plaintiff,                        :
                                                     :
 v.                                                  :
                                                     :   CIVIL ACTION NO. 3:17-cv-30145
 UNIVERSITY OF MASSACHUSETTS                         :
 AMHERST, LOUIS B. WARD, Assistant                   :
 Dean of Students, sued in his individual and        :
 official capacities, PATRICIA CARDOSO-              :
 ERASE, Associate Dean of Students, sued in          :
 her individual and official capacities,             :
 DEBORA D. FERREIRA, Title IX
 Coordinator, sued in her individual and official
 capacities,

                  Defendants.

        JOINT MOTION FOR ENTRY OF CONFIDENTIALITY STIPULATION
                   AND TO SEAL CERTAIN DOCUMENTS

       The parties have conferred regarding the confidentiality and sealing of student records and

the potential applicability of the Family Educational Rights and Privacy Act, 20 U.S.C. § 1232g;

34 C.F.R. Part 99 et seq., to certain documents and information to be filed in this civil action. All

parties consent to the filing of this Motion and join in respectfully requesting that the Court enter

the Joint Stipulation and Proposed Order attached hereto as Exhibit A.

                                                    Respectfully Submitted,


 /s/Patricia M. Hamill                              /s/Jean Marie Kelley
 Patricia M. Hamill                                 Jean Marie Kelley
 /s/Lorie K. Dakessian                              University of Massachusetts
 Lorie K. Dakessian                                 Office of the General Counsel
 CONRAD O’BRIEN P.C.                                333 South Street, 4th Floor
 1500 Market Street,                                Shrewsbury, MA 01545
 Centre Square – West Tower, 39th Floor             Attorneys for Defendants
 Philadelphia, PA 19102
 Attorneys for Plaintiff
       Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 2 of 7




/s/Michael R. Schneider
Michael R. Schneider, Esq.
(Mass. Bar No. 446475)
Good Schneider Cormier & Fried
83 Atlantic Avenue
Boston, MA 02110-3711
Attorney for Plaintiff

Dated: November 3, 2017
        Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 3 of 7




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served today

via the Court’s ECF filing system upon:


                                   Jean Marie Kelly
                                   Office of General Counsel
                                   University of Massachusetts
                                   333 South Street, 4th Floor
                                   Shrewsbury, MA 01545
                                    Attorneys for Defendants


                                           Respectfully submitted,


                                           /s/ Michael R. Schneider
                                           Michael R. Schneider, Esq.
                                           (Mass. Bar No. 446475)
                                           Good Schneider Cormier & Fried
                                           83 Atlantic Avenue
                                           Boston, MA 02110-3711
                                           Tel: (617) 523-5933
                                           Email: ms@gscfboston.com

                                           /s/Patricia M. Hamill
                                           Patricia M. Hamill, Esq.
                                           (Pa. I.D. No. 48416)
                                           /s/Lorie K. Dakessian
                                           Lorie K. Dakessian, Esq.
                                           (Pa. I.D. No. 86102)
                                           Pro Hac Vice
                                           Conrad O’Brien PC
                                           1500 Market Street
                                           Centre Square – West Tower, Suite 3900
                                           Philadelphia, PA 19102-1921
                                           Tel: (215) 864-9600
                                           Email: phamill@conradobrien.com
                                                   ldakessian@conradobrien.com
                                           Attorneys for Plaintiff John Doe
Dated: November 3, 2017
Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 4 of 7




      Exhibit A
         Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 5 of 7



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                     :
 JOHN DOE,                                           :
                                                     :
                   Plaintiff,                        :
                                                     :
 v.                                                  :
                                                     :   CIVIL ACTION NO. 3:17-cv-30145
 UNIVERSITY OF MASSACHUSETTS                         :
 AMHERST, LOUIS B. WARD, Assistant                   :
 Dean of Students, sued in his individual and        :
 official capacities, PATRICIA CARDOSO-              :
 ERASE, Associate Dean of Students, sued in          :
 her individual and official capacities,             :
 DEBORA D. FERREIRA, Title IX
 Coordinator, sued in her individual and official
 capacities,

                  Defendants.

                     JOINT STIPULATION AND PROPOSED ORDER

       AND NOW, this ______ day of ____________________, 2017, it appearing that:

       1.      On October 18, 2017, this Court issued an Order allowing Plaintiff in this lawsuit
to proceed by pseudonym “John Doe” (ECF Doc. 15); and

       2.     The Order also permitted the parties to use the pseudonym “Jane Roe” to refer to
the complainant in the underlying disciplinary proceeding (Id.); and

       3.      The Order also permitted the parties to use pseudonyms to refer to student witnesses
involved in the underlying disciplinary proceeding (Id.); and

        4.     Additionally, the Family and Educational Rights and Privacy Act, 20 U.S.C. §
1232g; 34 C.F.R. Part 99 et seq. (“FERPA”), may affect the parties’ ability to publicly disclose
certain confidential education records or portions of those records; and

        5.      Good cause exists to order that documents and information, when filed with the
Court, be filed without any personally identifying information pertaining to any student, including
plaintiff, and that it be filed in a nonpublic manner; and

       6.      Notwithstanding the use of pseudonyms, the parties recognize that information
contained in the University’s investigation materials, and additional materials that may be attached
         Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 6 of 7



to and/or referenced in future court filings, may reflect information that could lead to the discovery
of the identities of John Doe, Jane Roe, and other students involved in this matter; and

        7.     John, Jane Roe, and all students involved in the underlying disciplinary
investigation have a substantial privacy right which outweighs the public’s interest in this litigation
and the customary presumption of openness in judicial proceedings; and

        8.     Maintaining the confidentiality of all identities will protect the privacy and
reputational interests of all individuals involved and protects information that falls under the
Family Educational Rights and Privacy Act; and

       9.      All parties to this civil action having so stipulated;

       It is ORDERED that:

       1.      Documents filed with the Court by any party to this action shall be REDACTED
to remove all personally identifiable information pertaining to any student and information which
could reasonably be used to identify any student, and shall be filed UNDER SEAL.

        2.     Any documents filed by the parties in this matter that include identifying
information as described in Paragraph 1 of this Order shall be filed and kept UNDER SEAL, with
a courtesy copy of the documents filed under seal provided to all other counsel and to the Court,
with a clear header or footer on each page labeling the documents as CONFIDENTIAL.

        3.     Before the commencement of formal discovery in this matter, the parties shall meet
and confer in good faith regarding further confidentiality terms governing information exchanged
in this civil action, including confidential educational records that may implicate FERPA
obligations and restrictions.

 /s/Patricia M. Hamill                             /s/Jean Marie Kelley
 Patricia M. Hamill                                Jean Marie Kelley
 /s/Lorie K. Dakessian                             University of Massachusetts
 Lorie K. Dakessian                                Office of General Counsel
 CONRAD O’BRIEN P.C.                               333 South Street, 4th Floor
 1500 Market Street                                Shrewsbury, MA 01545
 Centre Square – West Tower, 39th Floor            Attorneys for Defendants
 Philadelphia, PA 19102
 Attorneys for Plaintiff

 /s/Michael R. Schneider
 Michael R. Schneider, Esq.
 (Mass. Bar No. 446475)
 Good Schneider Cormier & Fried
 83 Atlantic Avenue
 Boston, MA 02110-3711




                                                 -2-
Case 3:17-cv-30145-MGM Document 18 Filed 11/03/17 Page 7 of 7




                              BY THE COURT:




                              _________________________________
                              U.S.D.J. Mark G. Mastroianni




                             -3-
